                                      Case 2:21-cv-01191-RFB-VCF Document 19 Filed 10/16/21 Page 1 of 2



                        1
                                PATRICK H. HICKS, ESQ., Bar # 4632
                        2       ETHAN D. THOMAS, ESQ., Bar #12874
                                LITTLER MENDELSON, P.C.
                        3       3960 Howard Hughes Parkway
                                Suite 300
                        4       Las Vegas, NV 89169-5937
                                Telephone:    702.862.8800
                        5       Fax No.:      702.862.8811
                                Email:        phicks@littler.com
                        6                     edthomas@littler.com

                        7       Attorneys for Defendant
                                HARRAH’S LAUGHLIN, LLC
                        8

                        9                                         UNITED STATES DISTRICT COURT
                     10
                                                                        DISTRICT OF NEVADA
                     11
                                BONNIE ROGERS, an individual,
                     12
                                                    Plaintiffs,                    Case No. 2:21-cv-01191-RFB-VCF
                     13
                                vs.                                                STIPULATION AND ORDER TO DISMISS
                     14                                                            ENTIRE ACTION WITH PREJUDICE
                                HARRAH’S LAUGHLIN, LLC d/b/a and
                     15         a/k/a HARRAH’S LAUGHLIN,
                                EMPLOYEE(S)/AGENT(S) DOES I-X;
                     16         and ROE CORPORATIONS XI-XX,
                                inclusive,
                     17
                                                    Defendants.
                     18

                     19
                                         Plaintiff BONNIE ROGERS and Defendant HARRAH’S LAUGHLIN, LLC, by and
                     20
                                through their respective counsel of record, hereby stipulate and respectfully request an order
                     21
                                dismissing the entire action with prejudice.
                     22
                                         The parties agree that no party to this stipulation shall be deemed to be a prevailing party
                     23
                                in this action and that no party will file for an award of attorneys’ fees or costs pursuant to any
                     24
                                rule, statute, or law, whether local, state, or federal, in any forum that would be available for the
                     25
                                claims dismissed by this stipulation.
                     26
                                ///
                     27
                                ///
                     28
LITTLER MEND ELSO N, P.C.
        Attorneys At Law
  3960 H oward Hughes Parkway
            Suite 300
   Las Vegas, NV 89169-5937
          702.862.8800
                                   Case 2:21-cv-01191-RFB-VCF Document 19 Filed 10/16/21 Page 2 of 2



                        1                Each party to this stipulation shall bear its own costs and fees for the claims dismissed by

                        2       this stipulation.

                        3
                                Dated: October 13, 2021                           Dated: October 13, 2021
                        4

                        5       GABROY LAW OFFICES                                LITTLER MENDELSON, P.C.

                        6
                                By: /s/ Christian Gabroy ________                 By:/s/ Ethan D. Thomas ____________
                        7       CHRISTIAN GABROY, ESQ.                            PATRICK H. HICKS, ESQ.
                                KAINE MESSER, ESQ.                                ETHAN D. THOMAS, ESQ
                        8                                                         Attorneys for Defendants
                                Attorneys for Plaintiff
                                                                                  HARRAH’S LAUGHLIN, LLC
                        9       BONNIE ROGERS

                     10

                     11                                                        IT IS SO ORDERED:

                     12

                     13
                                                                               ___________________________________
                     14
                                                                               UNITED STATES DISTRICT JUDGE
                     15
                                                                               DATED this 16th day of October, 2021.
                     16                                                        DATED: _______________________
                     17
                                4831-6789-9647.1 / 083558-1246
                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LITTLER MEND ELSO N, P.C.
        Attorneys At Law
  3960 H oward Hughes Parkway
                                                                                  2.
            Suite 300
   Las Vegas, NV 89169-5937
          702.862.8800
